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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Catherine Gravitt, et al.
                                    Plaintiff,
v.                                                       Case No.: 1:17−cv−05428
                                                         Honorable Gary Feinerman
Mentor Worldwide, LLC
                                    Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 2, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Motion for discovery [211]
is entered and continued to 11/12/2020 at 9:00 a.m. Motion hearing set for 11/5/2020
[215] is stricken. Attorneys/Parties should appear for the 11/12/2020 hearing by calling
the Toll−Free Number: (877) 336−1828, Access Code: 4082461. Members of the public
and media will be able to call in to listen to this hearing (use toll free number). Please,
please be sure to keep your phone on mute when you are not speaking. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice.(jlj, )




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